Case 1:23-cv-00822-ADA Document 27-29 Filed 12/22/22 Page 1 of 2




     Exhibit	  JJ	  
                          Case 1:23-cv-00822-ADA Document 27-29 Filed 12/22/22 Page 2 of 2

                           7800 Shoal Creek Blvd, Austin, TX 78757 to 800 Franklin Ave #380, Waco, TX 76701      Drive 96.4 miles, 1 hr 25 min




                                                                                                              Map data ©2022 Google   10 mi



        via I-35 N                                1 hr 25 min
        Fastest route now, avoids road                 96.4 miles
        closure on S 17th St
              This route has tolls.

        via State Hwy 95 N and I-35 N 1 hr 46 min
                                                       106 miles




Explore 800 Franklin Ave #380




Restaurants      Hotels    Gas stations Parking Lots     More
